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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                      )
KEMAR WHITE                           )
    Plaintiff,                        )
                                      )
v.                                    )              Civil Action No. 1:16-cv-11897
                                      )
TAURUS LAW GROUP, P.C.                )
    Defendant,                        )
                                      )

                                 NOTICE OF SETTLEMENT

        I, Sebastian Korth esq, attorney for plaintiff Kemar White in the above cited matter report
that the parties have reached a settlement in this matter and request that the Clerk enter a 30 day
Nisi order to allow execution of the settlement and filing of the necessary paperwork.


Respectfully submitted

                                                                               /s/ Sebastian Korth
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Date: January 9, 2017
